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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

  UNITED STATES OF AMERICA
  Plaintiff,
  v.                                                Case No.: 1:20−cr−00093−MSM−PAS

  Rhode Island Beef and Veal Inc., et al.
  Defendant.


                      TRANSCRIPT ORDER ACKNOWLEDGMENT

         A transcript order form was received by the U.S. District Court for the District of
  Rhode Island and has been forwarded to the below court reporter for completion:
                                 Denise Veitch, Court Reporter
                                        U.S. District Court
                                 for the District of Rhode Island
                                      One Exchange Terrace
                                      Providence, RI 02903
                                         401−752−7031
                                Denise_Veitch@rid.uscourts.gov

          The transcript is tentatively due to be filed with the Court on May 20, 2024. It is
  the responsibility of the ordering party to contact the above court reporter
  immediately to make satisfactory financial arrangements. The court reporter will
  provide an estimate of costs and information on where to send payment. Transcript
  preparation and delivery times begin once payment arrangements have been made with the
  court reporter. This may not occur until a deposit is received.

          The ordering party is reminded that transcript orders requesting anything other
  than 'Ordinary' delivery, is not sufficient to guarantee faster processing. The ordering
  party must contact the court reporter to determine whether accelerated processing is
  available.
          Copies of transcripts will be provided to the ordering party by email or U.S. Mail
  based on the arrangement made with the court reporter. The official transcript will also be
  electronically filed on the case docket in CM/ECF, and will be viewable at the public
  terminal in the Clerk's Office and remotely via PACER by the ordering party only for 90
  days after a transcript is filed.

          Parties must understand their responsibility to request redaction of personal
  identifying information from transcripts that will be filed and made available to the public
  through the Court's CM/ECF system. For guidance on the judiciary's redaction policy,
  please review the information available by clicking here.
           Parties or attorneys wishing to redact personal identifiers from a transcript must
  file a Redaction Request Form within 21 days of the filing of the transcript. The
  responsibility for redacting personal identifiers rests solely with counsel and the parties.
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           If a Redaction Request is filed, the Redacted Transcript is due 31 calendar days
  from the date of filing of the original transcript. Unless extended by court order, Redacted
  Transcripts are not made public until the end of the 90−day restriction period. If no
  Redaction Request is filed, the Court will remove the electronic restriction to the transcript
  at the end of the 90−day restriction period.
          If you wish to inquire about the status of your transcript, please contact the court
  reporter directly or the court reporter supervisor at the direct extension listed below.


  May 6, 2024                                    Hanorah Tyer−Witek, Clerk of Court


  U.S. District Court
  for the District of Rhode Island
  One Exchange Terrace
  Providence, RI 02903
  Court Reporter Supervisor: Jennifer Dias (401) 752−7223
